       Case 23-41386          Doc 91      Filed 04/15/24 Entered 04/15/24 08:56:54                   Desc Setting
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                                    UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Texas

Sherman (Plano)
Suite 300B
660 North Central Expressway
Plano, TX 75074


In     Sidhartha Mukherjee and Sunita Mukherjee              Bankruptcy Case No.: 23−41386
Re:    Debtor                                                Chapter: 7


      ORDER FIXING LAST DATE FOR FILING PROOFS OF CLAIMS COMBINED WITH NOTICE
                                      THEREOF

TO THE CREDITORS OF THE ABOVE−NAMED DEBTOR:

Notice having been previously given that creditors of the above−named debtor(s) were not required to file proofs of
claims and it now appearing that a possible dividend may be declared for creditors at a later date, it is

ORDERED AND NOTICE IS HEREBY GIVEN THAT 6/24/24 is hereby fixed as the last date for the filing of
proofs of claim by any creditor of the above−named debtor(s) who desires to have his claim allowed so that he may
share in any distribution to be paid from the estate. Creditors must file a claim, whether or not they are included in
the list of creditors filed by the debtor(s), no later than the date above fixed or their claim will not be allowed,
except as otherwise provided by law. Claims may be filed in the office of the undersigned Clerk on the official form
prescribed for proofs of claim ("Official Form B 410"), a copy of which can be obtained at the United States Courts
Web site: https://ecf.txeb.uscourts.gov/b410.html or at any bankruptcy clerk's office.

You are further notified that if a distribution is to be declared for creditors, it will not be made until conclusion of
the administration of this estate by the trustee. At a later date, you will be given notice of the filing of the final
report of the trustee, applications for compensation and the proposed distributions which may include a possible
dividend to creditors.

Proof of Claim Deadline for Non−Governmental Claimants 6/24/24.
Proof of Claim Deadline for Governmental Units is 10/15/24.

Dated: 4/15/24

                                              Jason K. McDonald, Clerk
                                                U.S. Bankruptcy Court


ELECTRONICALLY FILE PROOFS OF CLAIM AT:

https://ecf.txeb.uscourts.gov/cgi−bin/autoFilingClaims.pl

OR MAIL ORIGINAL PROOFS OF CLAIM TO:

Suite 300B
660 North Central Expressway
Plano, TX 75074

*** ANY CLAIMANT WHO HAS PREVIOUSLY FILED A CLAIM IN THESE PROCEEDINGS IS NOT
REQUIRED TO RE−FILE SAME AND MAY DISREGARD THIS NOTICE. CLAIMANTS ARE STRONGLY
ENCOURAGED TO USE THE CLAIM FORM LOCATED AT https://ecf.txeb.uscourts.gov/b410.html OR AT
ANY BANKRUPTCY CLERK'S OFFICE.
